AO 247 (NC/W 9/14)   Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Western District of North Carolina
                  United States of America
                               v.                                      )
                                                                       )   Case No:        0419 3:95CR00005
                        Jackie McKubbin                                )   USM No:         11733-058
Date of Original Judgment:     September 8, 1995                       )
Date of Last Amended Judgment: August 27, 2009                         )   Pro se
                                                                       )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons ☐ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
       ☒ DENIED. ☐ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of is reduced to.
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    43                Amended Offense Level:     37
Criminal History Category: VI                Criminal History Category: VI
Original Guideline Range:  Life imprisonment Amended Guideline Range: 360 months to life
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
☐ The reduced sentence is within the amended guideline range.
☐ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
☐ The reduced sentence is above the amended guideline range.
☐ Amendment 782 is subject to a Special Instruction at USSG §1B1.10(e)(1) that reduced sentences shall not take effect
   until November 1, 2015, or later. Since this defendant’s projected GCT release date is, Amendment 782 is not
   applicable in this case.
☐ The Reduced sentence is based upon Amendment ☐ 750                ☐ 782
☒ Other (explain): No reduction as the defendant’s sentence was amended on August 27, 2009, to 360 months pursuant
                      to Amendment 706 and the application of Amendment 782 provides no further change in the
                      guideline range.
III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Office prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local Resident
Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Office.

Except as provided above, all provisions of the judgment dated August 27, 2009 shall remain in effect.
IT IS SO ORDERED.

Order Date:       January 16, 2015                                    Signed: January 20, 2015

Effective Date:
                  (if different from order date)



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